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1N THE uNiTED sTATEs DlsTFilcT couRT w Bv_..%__._m
Foa THt-: wEsTEnN DisTFilcT oF TENNESSEE
wEsTEaN D:vlsloN 05 Jlll. -l AH 'I: 57
uNlTED sTATEs 0F AMERch CLEH%US lJS`tRicr
WOF TN i:lEl/Fl§mT
Plaintitf
vs. ca. No. 05-20110-3

RAFAT MAWLAW|, JANES NE`|`|'ERS AUSTIN,
OMF{AN OMEFl, MARTHA JANE D|ANA,
TAMELA BRACEY,

CHANDRA NE`I'!'ERS AUST|N TAYLOR,
K|N|BEFILY SHANEKY|A NE`ITEF{S,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|F¥|NG PEFl|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendants requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Mondzai}¢,l October 31 , 2005l at 10:30 a.m., in Courtroom 1 11th Ftoor of the
Federal Building, Memphis, TN.

 

The period from July 15, 2005 through November 18, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a <s£eedy trial.

lT is so oaDEaED this 20 day ne, 2005.

 

 

J A iEL BREEN \
ir o sTATEs DlsTaicT JuDGE

Thls document entered on the docket e t n l ce
with Flule 55 andfor32(b) FHCrP on /O 2

UNITED `sTEATS DSTIRIC COURT - WESTRNE D'S'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
case 2:05-CR-20110 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

